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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

                                                                                    CASE NO.: 16-20175-BKC-PGH
                                                                                 PROCEEDING UNDER CHAPTER 13

IN RE:

STEPHANIE D. EDMUNDS
XXX-XX-9735

_____________________________/
DEBTOR

                                        REPORT OF NON COMPLIANCE

   COMES NOW the Trustee, Robin R. Weiner, Esquire, and reports to the Court as follows:

   1. Pursuant to Administrative Order 98-6, a Notice of Delinquency was served on June 11, 2020, as a
      result of the Debtor's failure to remain current under the confirmed plan.

   2. The Debtor has not become current.

   3. Accordingly, the Trustee reports that this case should be dismissed.

   WHEREFORE, the Trustee reports these facts to the Court for appropriate action.
   RESPECTFULLY SUBMITTED this 4th day of August, 2020.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Report Of Non
Compliance was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on
the attached service list this 4th day of August, 2020.


                                                                             /s/ Robin R. Weiner
                                                                             _____________________________________
                                                                             ROBIN R. WEINER, ESQUIRE
                                                                             STANDING CHAPTER 13 TRUSTEE
                                                                             P.O. BOX 559007
                                                                             FORT LAUDERDALE, FL 33355-9007
                                                                             TELEPHONE: 954-382-2001
                                                                             FLORIDA BAR NO.: 861154
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                                                                      REPORT OF NON COMPLIANCE
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                                      SERVICE LIST

COPIES FURNISHED TO:

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